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United States District Court . 9 - l xiii ` j y 11…~§~
Southern District of Florida "" " '

301 North Miami Avenue

Miami, FL 33128

Case#: 07-80138-CIV-PAINE/JOHNSON

By: Certiiied mail

To whom it may concern:

This is to be advised that I have just been made aware of the above mentioned case.

I have been traveling excessively internationally for my company and just returned.
I will hire an attorney to take care of this as soon as possible.

S' cerer your , /Q/M
[\\4,\\\\1 /é;& O`)
Lana .J. Marks \7? *

CEO/Designer
LANA MARKS

